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 7                                  UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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10                                                        No. 2:18-mj-152-EFB
      IN THE MATTER OF THE
11    EXTRADITION OF OMAR
      ABDULSATAR AMEEN TO THE
12    REPUBLIC OF IRAQ                                    ORDER
13

14           The defense, in compliance with the court’s last order, has filed a new status report on the

15   ongoing attempt to obtain the Turkcell data. ECF No. 280. Ameen’s Turkish counsel has

16   furnished numerous documents which show that the process of obtaining those records is active

17   and ongoing. See, e.g., ECF Nos. 280-1, 280-2, 280-7. The defense believes that the records will

18   be provided “shortly”, and Ameen’s Turkish counsel believes no procedural hurdles in obtaining

19   the records remain. ECF No. 280 at 3. The defense requests that the court set a new status report

20   deadline for January 29, 2021. Id. at 4.

21           The government continues to oppose the delay in these proceedings. ECF No. 281. It

22   states that there has, as yet, been no response to the letters rogatory. Id. at 2.

23           The court grants the defense request to set a new status report deadline of January 29,

24   2021. The same rationales articulated in its previous orders (e.g., ECF No. 273 at 3-4) remain

25   applicable. It appears that at least some progress on obtaining the records is being made.

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 1          Accordingly, it is ORDERED that on or before January 29, 2021 the defense shall file an
 2   updated status report apprising the court of its ongoing attempts to obtain Ameen’s Turkcell
 3   records.
 4   DATED: December 22, 2020.
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